  Case: 1:04-cr-00464 Document #: 2693 Filed: 10/18/19 Page 1 of 1 PageID #:13639



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS

USA                                        )
                                           )
               Plaintiff,                  )
                                           )               Case No. 1 :04-cr-00464-6
       V.                                  )
                                           )               Judge Elaine E. Bucklo
Corey Evans,                               )
                                           )
               Defendant.                  )

                                           ORDER

Defendant's motion for a reduced sentence under Section 404 of the First Step Act is granted. A
reduced sentence of TIME SERVED is now imposed. All of the other terms and conditions of the
previous judgment remain unchanged. Defendant should be released immediately. Amended
Judgment Order to follow.




                                           ENTER:




                                            Judge Elaine E. Bucklo
                                            United States District Court
                                            Northern District of Illinois

Date: October 18, 2019
